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   United States District Court
   District of Newark
   Office of the Clerk
   50 Wall Street
   Newark New Jersey 07101

    Att: Mr. William T. Walsh

    Re: D’Antonio vs Borough of Allendale et als..
        Docket No. 2:16-cv-00$16-ccc-jbc
        Final Default Summary Judgment

    Dear Mr. Walsh:
          On June 16, 2016. by telephonic scheduling conference Magistrate Judge James
    B. Clark, III made a decision of Final Default Summaiy Judgment against Defendants
    Thomas P. Monahan and Louis Capazzi.
           In Support of my request. Plaintiff relies upon Motion filed May 31. 2016.
    Material Issues of facts, Page 4 paragraph 6 wherein Plaintiff demands Final Summary
    Judgment of Default in the Amount of $3 million dollars against Thomas P. Monahan.
    Page 5 paragraph 8 Final Summary’ Judgment of Default in the amount of $4 million
    dollars agaInst Louis Capazzi.
           Pursuant to Ruit 5(a) Plaindf[auaches Affidavit of Michael A. D’Antonio. dated
    April 1, 2016, Certification in Support of Final Default Judgment and a Copy of Judge
    James B. Clark III letter Order dated June 16,20 16.
    Default was established by Judge Clark by the non attendance of both Defi.mdants.

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    Michael A. D’Antonio                                   W             c\O’     Hoe. 1 Ii;) .Olt
                                                                       SO ORDERED
                                                                               s/James B. Clark
                                                                          James B. Clark, U.S.MJ.
                                                                       Date:
